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Case 2:18-cV-00138-GI\/|N-N.]K Document 1 Filed 01/25/18 Page 1 of 22

RlLEY A. CLAYTON
Nevada Bar No. 005260

rcla§§on@lawhjc.com

HALL JAFFE & CLAYToN, LLP
7425 PEAK DR|VE
LAS \/EGAs, NEVADA 89128
(702) 316-4111
FAx (702)316-4114

Attorneysfor Defena’am, State Farm Fz're and
Casually Compcmy and State Farm Mutual Automobile Ins. Co.

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
JOHN SELF,
CASE NO.:
Plaintiff,
vs.
STATE FARl\/l FIRE AND CASUALTY NOTICE OF REMOVAL

COMPANY; STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY;
DOES l through X, inclusive; and ROE
CORPORATIONS l through X, inclusive,

 

Defendants.

 

TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT C)F NEVADA

Defendants, State Farm Fire and Casualty Company (“State Farm Fire”), and State Farm l\/lutual
Automobile Insurance Cornpany (“State Farm Auto”), by and through their attorneys, Hall Jaffe &
Clayton, LLP, hereby remove this action to the United States District Court for the District of Nevada.

The basis of removal is as folloWs:

l. This Court has original jurisdiction over the subject matter of this action under the
provisions of 28 U.S.C. § 1332 in that there is complete diversity between the parties and more than
$75,000 in controversy, exclusive of interest and costs.

2. State Farm Fire and State F arm Auto are defendants in the above-entitled action now
pending in the Eighth Judicial District Court, Clark County, Nevada, Case No. A-l7~765247-C. State

Farm Fire and State Farm Auto are Illinois corporations With their principal place of business in that

 

 

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Case 2:18-cV-00138-GI\/|N-N.]K Document 1 Filed 01/25/18 Page 2 of 22

state, and are authorized to transact insurance under the laws of the State of Nevada. Plaintiff, John Self
(hereinafter “Plaintiff’), is a citizen of the state of Nevada.

3. With respect to the amount in controversy, the allegations in the complaint coupled with
other documents, including a judgment stemming from lawsuit styled John Selfv. Manuel Blanco, Jr.
and Judy L. Medina, Clark County, Nevada, Case No. A-l4~A697640-C (the “Underlying Lawsuit”), all
of which are fully incorporated by reference herein, establish an amount in controversy well in excess of
$75,000. In sum, the complaint herein alleges that John Self filed a bodily injury/negligence lawsuit,
i.e., the Underlying Lawsuit, against Manuel Blanco, Jr. and Judy L. Medina, which arose from injuries
and damages that John Self allegedly sustained from a motorized mini~bike accident; that State Farm
purportedly failed to defend and/or indemnify Manuel Blanco, Jr. And Judy L. Medina in the Underlying
Lawsuit; that John Self obtained a judgment against Manuel Blanco, Jr. and Judy L. Medina in the
amount of $ l ,0()0,000 in the Underlying Lawsuit; and that by assignment of rights, John Self is now
pursuing enforcement of the $l,OO0,000 judgment against Manuel Blanco, Jr.’s and Judy L. Medina’s
insurance carriers, State F arm Fire and State Farm Auto. As such, the amount in controversy is at least
$1,000,000, which greatly exceeds the $75,000 threshold amount for diversity jurisdiction, thereby
making this case appropriate for removal l

4. The Notice of Removal is timely. Service of the Summons and Complaint upon State
Farm Fire was effected by Service upon the Commissioner of lnsurance of the State of Nevada on
January 2, 2018. Service of the Summons and Complaint upon State Farm Fire was effect by service
upon the Commissioner of lnsurance of the State of Nevada on January 2, 2018.

5. Copies of Plaintiff` s Complaint, Summonses, and Proofs of Service, with respect to
State Farm Fire and State Farm Auto are attached hereto as “Exhibit A - Summonses and Service Docs.”
This constitutes all of the papers and pleadings served on State Farm.

6. State Farm Fire and State Farm Auto have concurrently filed a copy of this Notice of
Removal with the Clark County District Court Clerk, and has served a copy of this upon Plaintiff.

Based on the foregoing, Defendants, State Farm Fire and State Farm Auto, hereby remove the

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above action now pending in District Court, Clark County, Nevada, Case No. A-l7-765247-C, to this

DATED this 2 . j day of January, 2018.

HALL JAFFE & CLAYTON, LLP

By cara/1 /A/t/

RFLEY . CLAYToN , ' ~
Nevada ar No. 00526

7425 P.eak Drive

Las Vegas, Nevada 89128

Attorneysfor Defendant,

State Farm Mutual Automobile Ins. Co.

Court.

 

 

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Case 2:18-cV-00138-GI\/|N-N.]K Document 1 Filed 01/25/18 Page 4 of 22

CERTIFICATE OF E-SERVICE
Pursuant to Rule 5(b) of the Federal Rules of Civil Procedure, l hereby certify under penalty of
perjury that l am an employee of HALL JAFFE & CLAYTON, LLP, and that on November _, 2017,
the foregoing NOTICE OF REMOVAL, was served upon the parties via the Court’s e-flling and
service program, addressed as follows:

Justin L. Watkins, Esq.

Sabrina G. Wibicki, Esq.
ATKINSON WATKINS & HOFFMANN, LLP
10789 W. Twain Avenue, Suite 100
Las Vegas, NV 89135
Tel: (702) 562-6000
Fax: (702) 562-6266
Email: j watkins@awhlawyers.com
swibicki@awhlawvers.com

Atl‘omeysfor Plairztijj’f

 

An Employee of
HALL JAFFE & CLAYTON, LLP

 

 

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EXHIBIT “A”

(Summonses and Service Docs)

EXHIBIT “A”

(Summonses and Service Docs)

 

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Case 2:18-cV-00138-GI\/|N-N.]K Document 1 Filed 01/25/18 Page 6 of 22

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JAN 02 2018

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STATE OF NEVADA E

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SUMM

IUSTIN L. WATKINS, ESQ.
Nevada Bar No. 9217

SABRINA G. WIBICKI, ESQ.
Nevada Bar No. 10669
ATKINSON WATKINS & HOFFMANN, LLP
10789 W. Twain Avenue, Suite 100
Las Vegas, Nevada 89135
Telephone: 702~562-6000
Facsimile: 702-562-6066

Email: iwatkir@awhlawvers.com
Email: swibicki@awhlawvers.com
Aftorneys for Plaintiff

 

 

 

DISTRICT COURT
CLARK COUNTY, NEVADA

JOHN SELF, CASE NO.: A-l7~765247-C
DEPT. NO.: XV
Plaintiff,

V.

STATE FARM FIRE AND CASUALTY
COMPANY; STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY;
DOE INDIVIDUALS I through X, inclusive;
and ROE CORPORATIONS l through X,
inclusive,

Defendants.

 

 

SUMMONS

NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
WITHOUT YOUR BEING I-IEARD UNLESS YOU RESPOND WITHIN 20 DAYS. READ
THE INFORMATION BELOW.

TO: Defendant STATE FARM FIRE AND CASUALTY COMPANY
A civil Complaint (“Complaint”) has been filed by the Plaintiff against you for the relief set
forth in the Complaint.

l. If you intend to defend this lawsuit, within 20 days after this Summons is served on

you, exclusive of the day of service, you must do the following.

 

 

 

 

 

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Case 2:18-cV-00138-GI\/|N-N.]K Document 1 Filed 01/25/18 Page 7 of 22

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a. File With the Clerk of this Court, whose address is shown below, a formal

written response to the Complaint in accordance with the rules of the Court, with the appropriate

filing fee.
b. Serve a copy of your response upon the attorney whose name and address is
shown below.
2. Unless you respond, your default will be entered upon application of the Plaintiff

and failure to so respond will result in ajudgment of default against you for the relief demanded in
the Complaint, which could result in the taking of money or property or other relief requested in
the Complaint

3. If you intend to seek the advice of an attorney in this matter, you should do so
promptly so that your response may be filed in time.

4. The State of Nevada, its political subdivisions, agencies, officers, employees, board
members, commission members and legislators each have 45 days after service of this Summons
within which to tile an Answer or other responsive pleading to the Complaint.

Issued at direction of:
ATKINSON, WATKINS & HOFFMANN, LLP CLERK O_‘I"j` TH§ COURT
§JSTIN WATKINS, E\ Q DEPUTY CLE_ " -

   
   

 

evada Bar No. 9 17 Regional 'J_ustice enter

ABRINA G. WI C , ESQ. ' 200 Lewis Avenue"`-' ~
Nevada Bar No. 106 9 Las Vegas', Nevada 89101

10789 W. Twain Avenue, Suite 100
Las Vegas, Nevada 89135
Attorneyfor Plainti#

NOTE: When service is by publication, add a brief statement of the object of the action. See
Nevada Rules of Civil Procedure 4(b)

 

 

 

 

 

 

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COMP
JUSTIN L. WATKINS, ESQ. 1
Nevada Bar No. 9217

 

 

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JAN 022018

DlV|SlON OF |NSURANCE
STATE OF NEVADA

 

 

 

 

 

SABRINA G. WIBICKl, ESQ.
Nevada Bar No. 10669

ATKINSON WATKlNS & HOFFMANN, LLP

10789 W. Twain Avenue, Suite 100
Las Vegas, Nevada 89135
Telephone: 702~562-6000
Facsimile: 702-562-6066

Email: L»yatkins@awhlawyers.com
Email: swibicki@awhlawvers.com
Attorneys for Plaintiff

DISTRICT COURT

CLARK COUNTY, NEVADA

JOHN SELF,
Plaintiff,

V.

STATE FARM FIRE AND CASUALTY

COMPANY; STATE FARM

AUTOMOBILE INSURANCE COMPANY;
DOE INDIVIDUALS I through X, inclusive;
and ROE CORPORATIONS l through X,

inclusive,

Defendants.

 

 

COMES NOW, Plaintiif, JOHN SELF (hereinafter referred to as “Plaintiff” or “Mr.
SELF”), by and through his attorneys of record, ATKINSON WATKlNS & HOFFMANN, LLP,

CASE No.:
DEPT. No.:
MUTUAL
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. and hereby alleges and complains as follows:

l. At all times relevant herein, Plaintiff JOHN SELF was and is a resident of Clark

County, Nevada.

I.
PARTIES

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Steven D. Grlerson
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A-17-765247-C
Department 15

 

Case Number: A-17-765247-C

 

 

 

 

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2. Plaintiff is informed and believes, and thereupon alleges, that, at all times relevant
herein, Defendant STATE FARM FIRE AND CASUALTY COMPANY was and is an insurance
company duly licensed and authorized to conduct business in the State of Nevada.

` 3. Plaintiff is informed and believes, and thereupon alleges, that, at all times relevant
herein, Defendant STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY (with
STATE FARM FIRE AND CASUALTY COMPANY hereinafter collectively referred to as
“Defendants” or “STATE FARM”) Was and is an insurance company duly licensed and authorized
to conduct business in the State of Nevada.

4. The true names of Defendants DOE INDIVIDUALS I through X and ROE
CORPORATIONS I through X (hereinafter collectively referred to as “DOE Defendants”) are
unknown to Plaintiff who, therefore, sues said Defendants by such fictitious names. When the true
names and capacities of these Defendants are ascertained, Plaintiff will amend his Complaint
accordingly. 7

5. Defendants DOES l through X and ROE CORPORATIONS I through X are
individuals and/or entities who were/are agents, servants, or employees of STATE FARM and, at
all times relevant herein, were acting within the scope and course of said agency or employment
with knowledge, permission and/or consent of STATE FARM. Plaintiff alleges that one or more
of the DOE Defendants was responsible for the insurance policies issued to MANUEL BLANCO,
JR. and JUDY L. MEDINA which were in effect on March 27, 2013 to defend and indemnify
MANUEL BLANCO,»JR. and JUDY L. `MEDINA for any claim and lawsuits, including the claim
initiated and lawsuit filed by Plaintiff JOHN SELF against MANUEL BLANCO, JR. and JUDY
L. MEDINA due to a miniature motorcycle accident that caused Mr. SELF to suffer serious injuries.

II.
GENERAL ALLEGATIONS AND FACTS COMMON TO ALL CLAIMS FOR RELIEF

6. At all times mentioned herein, MANUEL BLANCO, JR. and JUDY L. MEDINA
were covered under a homeowners’ policy of insurance from STATE FARM FIRE AND
CASUALTY COMPANY, and/or DOE Defendants, in effect on March 27, 2013 (hereinatier

referred to as “Homeowners lnsurance Policy”).
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7. At all times mentioned herein, MANUEL BLANCO, JR. and JUDY L. MEDINA
were covered under an automobile policy of insurance from STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY, and/or DOE Defendants, in effect on March 27, 2013
(hereinafter referred to as “Automobile lnsurance Policy”). _

8. MANUEL BLANCO, JR. and JUDY L. MEDINA’s Homeowners insurance Policy
with STATE FARM FIRE AND CASUALTY COMPANY contained liability policy limits.

9. MANUEL BLANCO, JR. and JUDY L. MEDINA’s Homeowners lnsurance Policy
with STATE FARM FIRE AND CASUALTY COMPANY included a provision that allowed for
payment for a defense and indemnification

10. MANUEL BLANCO, JR. and JUDY L. MEDINA’s Automobile lnsurance Policy
with STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY contained liability
policy limits of$15,000.00.

ll. MANUEL BLANCO, JR. and JUDY L. MEDINA’s Automobile lnsurance Policy
with STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY included a provision
that allowed for payment for a defense and indemnification

12. On March 27, 2013, MANUEL BLANCO, JR. and JUDY L. MEDINA Were the
owners of a certain miniature motorcycle On said date, Mr. BLANCO and/or Ms. MEDINA asked
Plaintiff JOHN SELF to test drive their miniature motorcycle around their neighborhood While
Mr. SELF was riding the miniature motorcycle, the accelerator stuck in the “on” position and he
was unable to stop the motorcycle, subsequently striking the curb and suffering serious injuries.

13, On March 13, 2014, Plaintiff JOHN SELF filed a lawsuit against MANUEL
BLANCO, JR. and JUDY L. MEDINA arising out of the incident which occurred on
March 27, 2013 (hereinafter referred to as “the underlying lawsuit”).

14. STATE FARM and/or DOE Defendants refused to hire counsel and defend
MANUEL BLANCO, JR. and JUDY L. MEDINA in the underlying lawsuit.

15. On October 5, 2016, a Judgment was entered in favor of Plaintiff JOHN SELF and
against MANUEL BLANCO, JR. and JUDY L. MEDINA in the amount of $l,OO0,000.00.

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16. STATE FARM and/or DOE Defendants failed to pay the personal liability limits to
Plaintiff JOHN SELF either under MANUEL BLANCO, JR. and JUDY L. MEDINA’s
Homeowners Insurance Policy or the Automobile lnsurance Policy.

17. STATE FARM failed to indemnify MANUEL BLANCO, JR. and JUDY L.
MEDINA under their Homeowners lnsurance Policy or Automobile Insurance Policy for the full
amount of the Judgment obtained.

18. In exchange for a covenant not to execute against the Judgment, MANUEL
BLANCO, JR. and JUDY L. MEDINA have assigned to Plaintiff JOHN SELF all of their rights,
interest and claims in the policies issued by STTAE FARM, or any other applicable insurer, for any

claims and/or causes of action arising under Nevada law.

III.
FIRST CAUSE OF ACTION
(Breach of Contract)

19. Plaintiff repeats and realleges each and every allegation contained in Paragraphs l
through 18 herein above and incorporate the same by reference as though fully set forth herein,

20. At all times relevant herein, MANUEL BLANCO, JR. and JUDY L. MEDINA
contracted for liability insurance from Defendants and/or DOE Defendants under a Homeowners
Insurance Policy and an Automobile Insurance Policy, both of which included payments for defense
in a lawsuit and indemnification

21. MANUEL BLANCO, JR. and JUDY L. MEDINA filed a claim for benefits with
STATE FARM F[RE AND CASUALTY COMPANY pursuant to their Homeowners Insurance
Policy for the claim initiated and lawsuit filed by Plaintiff JOHN SELF.

22. MANUEL BLANCO, JR. and JUDY L. MEDINA filed a claim for benefits with
STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY pursuant to their
Automobile Insurance Policy for the claim initiated and lawsuit filed by Plaintiff JOHN SELF.

23. Defendants and/or DOE Defendants failed to perform their duties under the
Homeowners Insurance Policy and Automobile Insurance Policy,. however, by failing to pay the

personal liability limits to Plaintiff JOHN SELF, Who was a third-party beneficiary of MANUEL

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BLANCO, JR. and JUDY L. MEDINA’s Homeowners insurance Policy and Automobile Insurance
Policy.

24. Defendants and/or DOE Defendants further failed to perform their duties under the
Homeowners Insurance Policy and Automobile Insurance Policy by failing to provide MANUEL
BLANCO, JR. and JUDY L. MEDINA with a defense and indemnification relative to the
underlying lawsuit.

25. As a result of Defendants’ and/or DOE Defendants’ failure to perform their duties
under the Subject Policy, Defendants and/or DOE Defendants materially breached the subject
insurance policies

26. As a result of Defendants’ and/or DOE Defendants’ breach of the subject insurance
policies, Plaintiff JOHN SELF has incurred compensatory damages.

27. As a result of Defendants’ and/or DOE Defendants’ breach of the subject insurance
policies, Plaintiff JOHN SELF has consequential and incidental damages.

28. As a result of Defendants’ and/or DOE Defendants’ breach of the subject insurance
policies, it has been necessary for Plaintiff JOHN SELF to retain the services of an attorney to
pursue this claim and Plaintiff is, therefore, entitled to recover reasonable attorneys’ fees.

b WHEREFORE, Plaintiff prays for judgment in their favor and against Defendants and/or
DOE Defendants as follows:

l. General and special damages in excess of $1,000,000.00;

2 Compensatory and expectation damages for denied policy benefits;

3. Consequential damages, including emotional distress and attorney’s fees;

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Costs of suit incurred herein; and

 

 

 

 

Case 2:18-cV-00138-GI\/|N-N.]K Document 1 Filed 01/25/'18 Page 13 of 22

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5. Any other and further relief as this Honorable Court may deem proper under the

circumstances

DATED this 28th day of November, 2017.

By:

ATKINSON WATKINS & HOFFMANN, LLP

/s/ Sabrina G. Wibicki, Esq.
JUSTfN L. WATKfNS, ESQ.
Nevada Bar No. 9217

SABRINA G. WIBICKI, ESQ.
Nevada Bar No. 10669

10789 W. Twain Avenue, Suite 100
Las Vegas, Nevada 89135

Attorneysfor Plaintin

 

 

 

 

 

Case 2:18-cV-00138-GI\/|N-N.]K Document 1 Filed 01/25/18 Page 14 of 22

BRL‘\N SANDOVAL STATE OF NEVADA ' C.]. MANTHE

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BA RBA RA l). RICH.~\RDSON

Commissioner

 

DEPARTMENT OF BUSINESS AND lNDUSTRY
DIVISION OF iNSURANCE
3300 \X/est Salr.ira Avenue, Suite 275
l-as Vegas, Nevada 89102»3200
(702) 4864009 ° l"':L\' (702) 4864007
\X/ebsire: doi.nv.gov
E-niail: insinl`o@doi.n\'.go\-'

January 8, 2018

Sabrina G. Wibicki, Esq.

ATKINSON WATKINS & HOFFMANN, LLP
10789 W. Twain Ave., Ste. 100

Las Vegas, NV 89135

RE: John Self vs. State Farm Fire and Casualty Company, et al.
District Court, Clark County, Nevada
Case No. A-17-765247-C

Dear Ms. Wibicki:

The Division received the service of process documents on Januar’?y _, 2018, regarding
the above-entitled matter. Service has been completed on State Farm Fire & Casualty Company
this date and enclosed are the following:

1. A copy of our letter to State Farm Fire & Casualty Company dated January 8,
2018;

2. A certified copy of the Proof of Service dated January 8, 2018; and

3. Your receipt in the amount Of $30.00.

Pursuant to Nevada Revr'sed`Sratutes (NRS) 680A.260, 685A.200, and 685B.050, all
documents after initial service of process may be served directly to the party.

If you have any questions regarding this service, please so advise.
Sincerely,

BARBARA D. RlCHARDSON
Commissioner of lnsurance

By: ./)d,@/)VQ/@%\/

RHONDA KELLY
Service of Process Clerk©
Enclosures

c: State Farm Fire & Casualty Company

 

 

Case 2:18-cv-00138-GI\/|N-N.]K Document 1 Filed 01/25/18 Page 15 of 22

B'RIAN SANDOVAL STATE OF NEVADA C.]. MANTHE

Govcrnor Dr'rector

BARBARA D. RICHARDSON
Commissioner

 

DEPARTMENT OF BUSINESS AND INDUSTRY
DIVlSlON OF INSURANCE -
3300 West Sahara Avenue, Suite 275
Las Vegas, Nevada 89102-3200
(702) 4864009 * Fax (702) 486-4007
Wel)site: doi.nv.gov
E»niail: insinfo@doi.nv.gov

January 8, 2018

State Farm Fire & Casualty Company

c/o CSC Services of Nevada, Inc.

2215 Renaissance Dr., Ste. B

Las Vegas, NV 89119-6727

RE: John Self vs. State Farm Fire and Casualty Company, et al.
District Court, Clark County, Nevada
Case No. A-17-765247-C

Dear Sir or Madam:
Enclosed please find the following documents: Summons and Complaint These
documents have been served upon the Commissioner of Insurance as your attorney for service of

process on January 2, 2018.

The appropriate action should be taken immediately, as you may only have 30 days from
the date of this service to respond.

If you have any questions regarding this service, please advise.
Sincerely,

BARBARA D. RICHARDSON
Commissioner of Insurance

MadJ/M\§

RHONDA KELLY
Service of Process Clerk

Enclosures

c: Sabrina G. Wibicki, Esq.

 

 

Case 2:18-cv-00138-G|\/|N-N.]K Document 1 Filed 01/25/18 Page 16 of 22

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PROOF OF SERVl_CE
I hereby declare that on this day l served a copy of the Summons and Complaint upon
the following defendant in the within matter, by shipping a copy thereof, via Certified mail,
return receipt requested, to the following:

State Farm Fire & Casualty Company

c/o CSC Services of Nevada, lnc.

2215 Renaissance Dr., Ste, B

Las Vegas, NV 89119-6727

CERTIFlED MAIL NO. 7016 3010 0000 0484 2161

Ideclare, under penalty of perjury, that the foregoing is true and correct

DATED this 8`h clay of January, 2018.

RHONDA KELLY w
Employee of the State of Nevada
Department of Business and Industry

Division of Insurance

RE: John Self vs. State Farm Fire and Casualty Company, et al.
District Court, Clark County, Nevada
Case No. A-17-765247-C

State of Nevada, Divlslon nf insurance
‘-'-? This document on which thls certificate
5 ` is stamped is a full, true and correct

copy of the original. b

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PSER

JUSTIN L. WATKINS, ESQ.
Nevada Bar No. 9217

SABRINA G. WIBICKI, ESQ.
Nevada Bar No. 10669
ATKINSON WATKINS & HOFFMANN, LLP
10789 W. Twain Avenue, Suite 100
Las Vegas, Nevada 89135
Telephone: 702-562-6000
Facsimile: 702-562-6066

Email: iwatkins@awhlawvers.com
Email: swibicki@awhlawvers.com

 

 

Atrorneysfor Plaintiff
DISTRICT COURT
CLARK COUNTY, NEVADA
JOHN SELF,
DEPT. NO.: XV
Plaintiff,
v.

STATE FARM FIRE AND CASUALTY
COMPANY; STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY;
DOE INDIVIDUALS 1 through X, inclusive;
and ROE CORPORATIONS 1 through X,
inclusive, '

Defendants

 

 

PROOF OF SERVICE RE: DEFENDANT STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY

Attached hereto as Exhibit “1” is the Proof of Service of Summons and Complaint on

Defendant STATE FARM FIRE MUTUAL AUTOMOBILE INSURANCE COMPANY.

DATED this 22nd day of January, 2018.

ATKINSON WATKlNS & HOFFMANN, LLP

By: /s/ Sabrina G. Wibicki, Esq,
SABRINA G. WIBICKI, ESQ.
Nevada Bar No. 10669
10789 W. Twain Ave., Suite 100
Las Vegas, NV 89135
Attomeysfor Plainti]j‘

CASE NO.: A-17-765247-C

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1/22/2018 2:44 PM
Steven D. Grierson

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CERTIFICATE OF SERVICE
l hereby certify that l am an employee of Atkinson Watkins & Hoffmann, LLP and that on
the 22nd day of January, 2018, l caused to be served via Wiznet, the Court’s mandatory

efiling/eservice system, a true and correct copy of the document described herein.

Document Served: PROOF OF SERVICE RE: DEFENDANT STATE FARM
MUTUAL AUTOMOBILE INSURANCE COMPANY

Person(s) Served:

Tatiana Sison

ROGERS MASTRANGELO CARVALHO & MITCHELL
700 S. Third Street

Las Vegas, NV 89101

Email: tsison@rmcmlaw.com
Attorneyfor Defendant

/s/ Jennifer Lopez
An Employee of Atkinson Watkins & Hoffmann LLP

 

 

 

 

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EXHlBlT 1

 

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DEPARTMENT OF BUSlNESS AND lNDUSTRY
DIVISION OF lNSURANCE
3300 West Sahara Avenue, Suite 275
Las Vegas, Nevada 89102-3200
(702) 486-4009 ' Fax (702) 4864007
Websitc: doi.nv.gov
E-mail: insin fo@d.oi.nv.gov

January 8, 2018

Sabrina G. Wibicki, Esq.

ATKINSON WATKINS & HOFFMANN, LLP
10789 W. Twain Ave., Ste. 100

Las Vegas, NV 89135

RE: John Self vs. State Farm Fire and Casualty Company, et al.
District Court, Clark County, Nevada
Case No. A-17-765247-C

Dear Ms. Wibicki:

The Division received the service of process documents on January 2, 2018, regarding
the above-entitled matter. Service has been completed on State Farm Mutual Automobile
Insurance Company this date and enclosed are the following: `

1. A copy of our letter to State Farm Mutual Automobile Insurance Company dated
January 8, 2018;

2. A certified copy of the Proof of Service dated January 8, 2018; and

3. Your receipt in the amount of $30.00.

Pursuant to Nevada Revised Statutes (NRS) 680A.260, 685A.200, and 685B.050, all
documents after initial service of process may be served directly to the party.

If you have any questions regarding this service, please so advise.
Sincerely,

BARBARA D. RICHARDSON
Commissioner of Insurance

By: MMMF

RHONDA KELLY U
Service of Process Clerk

Enclosures

c: State Farm Mutual Automobile Insurance Company

BARBARA D. RICHARDSON

 

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B.-\RB.;\ RA D. RICl~i.'-\RI)S():\’

C` commissioner

 

DE'PARTMENT OF BUSlNl`£SS AND INDUSTRY
DIViSION OF lNSURANCE
3300 West Saln\ra Avenue, Suite 275
` Las Veg'.\s, Nevada 89102-3200.
(702) 486'4009 ' Fa.x (702) 48634007
\¥/'el.=site: doi.n'»'.go\'
l£»nmil: insinl't)@tloi.n\'.go\-'
January 8, 2018
State Farm Mutual Automobile Insurance Company
c/o CSC Services of Nevada, Inc.
2215 Renaissance Dr., Ste. B
Las Vegas, NV 89119-6727
RE: John Self vs. State Farm Fire and Casualty Company, et al.
District Court, Clark County, Nevada
Case No. A-l7-765247~C
Dear Sir or Madam:

Enclosed please find the following documents: Summons and Complaint These
documents have been served upon the Commissioner of lnsurance as your attorney for service of
process on January 2, 2018, '

The appropriate action should be taken immediately, as you may only have 30 days from
the date of this service to respond

lf you have any questions regarding this service, please advise.
Sincerely,

BARBARA D. RICHARDSON
Commissioner of Insurance

By; MANij

RHONDA KELLY
Service of Process Clerk

Enclosures

c: Sabrina G. Wibicki, Esq.

 

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Case 2:18-cv-00138-GI\/|N-N.]K Document 1 Filed 01/25/18 Page 22 of 22

PROOF OF SERVICE
I hereby declare that on this day 1 served a copy of the Summons and Complaint upon
the following defendant in the within matter, by shipping a copy thereof, via Certified mail,
return receipt requested, to the following:

State Farm Mutual Automobile Insurance Company
c/o CSC Services of Nevada, Inc.

2215 Renaissance Dr., Ste. B

Las Vegas, NV 89119-6727

CERTIFIED MAIL NO. 7016 3010 0000 0484 2161

l declare, under penalty of perjury, that the foregoing is true and correct.

DATED this 8“‘ day OfJanum-y, 2018,

ji//”<MM/i\//.. {/

RHONDA KELLY

Employee ol the State of Nevada
Department of Business and industry
Division of Insurance

RE: John Self vs. State Farm Fire and Casualty Company, et al,
District Court, Clark County, Nevada
Case No. A-17-765247-C

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153 \:?a This documar l nn which this certificate
_ is stamped' is a full true and correct
copy of the original

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